                                                       U.S. Department of Justice


                                                       United States Attorney
                                                       Eastern District ofNew York

F#2018R02184                                           225 Cadman Plaza East
                                                       Brooklyn, New York 11201

                                                       March 11,2019

Lucio Celli

                       Re: United States V Lucio Celli(AMD)
                             Criminal Docket No. CR 19-127


Dear Mr. Celli:

Please take notice that the above case will be called in the United States District Court located at
225 Cadman Plaza East, Brooklyn,New York on Friday, March 15th,2019 at 11:00 AM. Please
report to Simon Chrein Arraignment Courtroom 2-A South Wing 2"'' floor and at this time you
will be required to plead to an Indictment heretofore filed for alleged violation ofthe United States
Code.


If you have not been previously interviewed by a Pretrial Services Officer, you should report to
the United States Pretrial Services Agency, which is located on the South Wing Room 219, 2"''
Floor in the Courthouse. You should arrive at least one hour before the case is to be called so that
a pretrial services report can be completed.

If you fail to attend, a warrant will be sought for your arrest.



                                                       Very truly yours,

                                                       RICHARD P. DONOGHUE
                                                       UNITED STATES ATTORNEY

                                                  BY: Nicole Jackson
                                                       Grand Jury Coordinator

cc: Ann M.Donnelly (Magistrate Bulsara will take the plea)

    Kayla Bensing
    Assistant U.S. Attorney                                                       Fitri
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                                                                       US DISTRICT(        ■"   Y.
    Pretrial Services Officer
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    Michael D. Weil Esq.
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